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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITEDSTATESOFAMEIDCA

v.                                     No. 4:13CR00068-1 JLH

KENNETH EUGENE BROWN, II
    a/k/a 'ICE MAN"; a/k/a "BJ"

                         PRELIMINARY ORDER OF FORFEITURE

       IT IS HEREBY ORDERED THAT:

       1.       As the result of the December 1, 2014, guilty plea of Kenneth Eugene Brown, II

("Defendant") shall forfeit to the United States, under 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c),

and 21 U.S.C. § 853:

                A.     One Smith & Wesson, model SW40VE, .40 caliber pistol, serial number

                       RAY5335;

                B.     One Lorcin, model L9, 9mm pistol, bearing serial number L109713;

                C.     One Jimenez Arms, model J.A. Nine, 9mm pistol, serial number 193065;

                D.     One Romarm SNCugir, model SAR-1, 7.62 x 39mm semi-automatic rifle,

                       serial number S1-42966-2001;

                E.     One Norinco, model MAK 90, 7.62 x 39 semi-automatic rifle, serial

                       number9100796;and

                F.     $7,530 U.S. Currency.

(collectively "property subject to forfeiture").

       2.       Upon the entry of this Order, the United States Attorney General or a designee

(collectively "Attorney General") is authorized to seize the above-listed property and to conduct

any discovery proper in identifying, locating, or disposing of the property subject to forfeiture.

Fed. R. Crim. P. 32.2(b)(3). Further, the Attorney General is authorized to commence any
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applicable proceeding to comply with statutes governing third party rights.

       3.        The United States shall publish, in such a manner as the Attorney General may

direct, notice of this Order and the United States' intent to dispose of the property subject to

forfeiture. The United States may also, to the extent practicable, provide written notice to any

person known to have an alleged interest in the property subject to forfeiture.

       4.        Any person, other than Defendant, asserting a legal interest in the property subject

to forfeiture may petition the Court for a hearing without a jury to adjudicate the validity of his

or her alleged interest in the property and for an amendment of this Order. See 21 U.S.C. §

853(n)(2); 28 U.S.C. § 2461(c).       This petition must be filed within 30 days of the final

publication of notice or receipt of notice, whichever is earlier. 21 U.S.C. § 853(n)(2).

       5.        This Preliminary Order of Forfeiture shall become final as to Defendant at the

time of sentencing and shall be made part of the sentence and included in the judgment. Fed. R.

CrimP. 32.2(b)(4)(A). If no third party files a timely claim, this Order shall become the Final

Order of Forfeiture. Fed. R. Crim. P. 32.2(c)(2).

       6.        Any petition filed by a third party asserting an interest in the property subject to

forfeiture shall be signed by the petitioner under penalty of perjury and shall set forth the nature

and extent ofthe petitioner's right, title, or interest in the property subject to forfeiture, the time

and circumstances of the petitioner's acquisition of the right, title or interest in the property

subject to forfeiture, any additional facts supporting the petitioner's claim and the relief sought.

        7.       After the disposition of any motion filed under Federal Rule of Criminal

Procedure 32.2(c)(1)(A) and before a hearing on the petition, discovery may be conducted in

accordance with the Federal Rules of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

        8.       The United States shall have clear title to the property subject to forfeiture
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following the Court's disposition of all third-party interests, or, if none, following the expiration

of the period provided for the filing of third party petitions.

       9.       The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary. See Fed. R. Crim. P. 32.2(e).

       SO ORDERED this          J'l..f- day of December 2014.



                                                   UNITED STATES DISTRICT JUDGE
